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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 OCALA DIVISION


UNITED STATES OF AMERICA

-vs-                                                    Case No. 5:05-cr-30-Oc-10GRJ

JOSE ISABEL GALARZA-ESCOBAR
______________________________/

                                       ORDER

       On March 8, 2006, the Court referred attorney Jerome Lee to the United States

Magistrate Judge to conduct a hearing as to whether Lee’s pro hac vice admission should

be revoked and sanctions imposed based on Mr. Lee’s failure to appear before the Court

on two occasions without Court permission or prior notification (Doc. 216). The Magistrate

Judge conducted a hearing on March 21, 2006, at which Mr. Lee was present, and has

issued a report (Doc. 229) recommending that Mr. Lee’s pro hac vice admission not be

revoked and that no sanctions be imposed. Neither side has filed any objections to the

report and recommendation of the Magistrate Judge, and the time for objecting has

elapsed.

       Upon an independent examination of the file and upon due consideration, the report

and recommendation of the Magistrate Judge (Doc. 229) is adopted, confirmed and made

a part hereof. Mr. Lee’s pro hac vice admission will not be revoked, and the Court will not

impose sanctions.

       IT IS SO ORDERED.
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      DONE and ORDERED at Ocala, Florida this 20th day of April, 2006.




Copies to:   United States Attorney
             United States Marshal
             United States Probation Office
             U.S. Pretrial Services Office
             Counsel of Record
             Maurya McSheehy, Courtroom Deputy
             Jose Isabel Galarza-Escobar




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